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                                                              June 14, 2022

VIA ECF

Hon. Charles R. Breyer
United States District Judge
United States District Court for the
 Northern District of California, San Francisco Division
450 Golden Gate Avenue
San Francisco, California 94102

Re:    In re Volkswagen “Clean Diesel” Mktg., Sales Practices, and Prods. Liab. Litig.,
       MDL No. 2672 (CRB); SEC v. Volkswagen AG et al., No. 19-cv-01391 (CRB)

Dear Judge Breyer:

         Plaintiff U.S. Securities and Exchange Commission (“SEC” or “Plaintiff”) and Defendants
Volkswagen AG and Volkswagen Group of America Finance, LLC (collectively, “VW,
“Volkswagen,” or “VW Defendants”) and Martin Winterkorn (collectively, the “parties”) jointly
submit this letter to request reassignment of this case to a new Magistrate Judge. As the Court
knows, on March 17, 2022, the Senate confirmed the President’s nomination of Magistrate Judge
Corley to serve as a U.S. district judge for the U.S. District Court for the Northern District of
California. This Court previously referred all discovery disputes in this case to then-Magistrate
Judge Corley. (See ECF No. 66 in Case No. 19-cv-01391). The SEC and Volkswagen have a
current discovery dispute for which they seek judicial resolution. Further, while the parties have
reached consensual resolution on most discovery disputes thus far, it is possible that the parties
may seek judicial resolution of additional discovery disputes in the future. Accordingly, the parties
respectfully request that the Court reassign this case to a new Magistrate Judge, and that the Court
refer all discovery disputes to the new Magistrate Judge.
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                                                  Respectfully submitted,



/s/ Suhana S. Han                                 /s/ Eric M. Phillips
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                     ATTESTATION (CIVIL LOCAL RULE 5-1(i)(3))

      In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this
document has been obtained from the signatory.

   Dated: June 14, 2022                              U.S. S.E.C.
                                                     /s/ Eric M. Phillips
                                                     Eric M. Phillips




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